Case 4:16-cv-05108-LRS    ECF No. 26-6    filed 10/15/16   PageID.420 Page 1 of 2




                                   Exhibit 6


Declaration of John A. Safarli in Support of City’s Motion for Entry of Proposed
                      Remedial Plan and Final Injunction


                          Glatt v. City of Pasco, et al.
                           No. 4:16-CV-05108-LRS
10/13/2016     Case 4:16-cv-05108-LRS                       ECF No.  26-6
                                                                 Franklin Countyfiled
                                                                                 August10/15/16
                                                                                       4, 2015 Primary PageID.421 Page 2 of 2




                                         Franklin County Auditor | Elections | August 4, 2015 Primary


                                         August 4, 2015 Primary
                                         Last updated on 08/18/2015 1:58 PM


                                            City of Pasco District 1 Councilmember, District 1, Position 1

                                              Precinct         Al Yenney        Elias Bustos       Bertha Alicia Coria        Juan Bolaños

                                          Total                        159                31                             45              22

                                          Pct 001                          70                  3                         14                  7

                                          Pct 002                          25             11                             11                  1

                                          Pct 003                          16                  3                         10              10

                                          Pct 004                          27                  5                          5                  2

                                          Pct 013(*)                        *                  *                          *                  *

                                          Pct 102(*)                        *                  *                          *                  *



                                         * Precincts were consolidated to protect voter privacy.

                                         Download CSV

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http://results.vote.wa.gov/results/20150804/franklin/Precincts­7779.html                           Exhibit 6, Page 001                           1/1
